Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 1 of 17 PageID #: 686
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 2 of 17 PageID #: 687
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 3 of 17 PageID #: 688
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 4 of 17 PageID #: 689
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 5 of 17 PageID #: 690
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 6 of 17 PageID #: 691
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 7 of 17 PageID #: 692
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 8 of 17 PageID #: 693
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 9 of 17 PageID #: 694
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 10 of 17 PageID #: 695
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 11 of 17 PageID #: 696
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 12 of 17 PageID #: 697
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 13 of 17 PageID #: 698
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 14 of 17 PageID #: 699
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 15 of 17 PageID #: 700
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 16 of 17 PageID #: 701
Case 3:11-cr-00132   Document 128   Filed 01/08/13   Page 17 of 17 PageID #: 702
